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 4
     Attorney for Defendant
 5   CARLOS SARABIA
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 8
                                    UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA                       )      CASE NO. CR 07-315 OWW
                                                    )
13                                                  )       STIPULATION AND
                              Plaintiff,            )       ORDER CONTINUING HEARING
14                                                  )       AND EXCLUDING TIME
                    v.                              )
15                                                  )
                                                    )
16                                                  )
     CARLOS SARABIA, et al,                         )
17                                                  )
                                                    )
18                       Defendants.               )
                                                   )
19
20           Defendant, Carlos Sarabia, by and through his counsel, Tom Stanley and Plaintiff, United
21   States of America, by its counsel, Assistant United States Attorney Kevin P. Rooney, stipulate and
22   agree that the Change of Plea hearing set for February 2, 2009, at 9:00 a.m. be continued to March
23   16, 2009, at 9:00 a.m.
24          The parties further stipulate that the time that the time period up to an including the hearing
25   date of March 16, 2009, should be excluded from the computation of time for commencement of
26   trial under the Speedy Trial Act based upon the parties need to continue settlement discussions and
27   negotiations. This process has taken more time than the parties originally anticipated. For this
28   reason, the defendants, defense counsel, and the government agree additional time is required for
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 1   the defense and government to try and resolve this case in the interests of justice under 18 U.S.C.
 2   § 3161 (h) (8) (B) (iv).
 3   Dated: January 29, 2009.
 4                                                 Respectfully submitted,
 5
 6                                                 /s/Tom Stanley
                                                   TOM STANLEY
 7                                                 Attorney for Defendant
                                                   CARLOS SARABIA
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 9
     Dated: January 29, 2009.                       /s/Tom Stanley
10                                                  Authorized to sign for KEVIN P. ROONEY
                                                    Assistant United States Attorney on 1/29/09
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 1                                       ORDER
 2          Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3          1. Based upon the representations and stipulation of counsel, the Court continues the Change
 4   of Plea hearing from February 2, 2009, at 9:00 a.m. until March 16, 2009, at 9:00 a.m.
 5         2. Based upon the representations and stipulation of the parties, the Court finds that the time
 6   exclusion under 18 U.S.C. § 3161 (h) (8) (B) (iv) applies and the ends of justice outweigh the best
 7   interest of the public and the defendant in a speedy trial. Accordingly, time under the Speedy Trial
 8   Act shall be excluded up to and including March 16, 2009, at 9:00 a.m.
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12                  IT IS SO ORDERED.
13   Dated: January 30, 2009                           /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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